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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 23-24903-CIV-JB

  SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,
  v.

  RISHI KAPOOR, et al.,

        Defendants.
  __________________________________________/

        RECEIVER’S EXPEDITED MOTION TO APPROVE SALE OF MIAMI BEACH
       PROPERTY FREE AND CLEAR AND RELATED SETTLEMENT AGREEMENT

                                 EXPEDITED RELIEF REQUESTED

            The Receiver requests that this Motion heard by the Court on September 24, 2024
              or such subsequent date the Court has availability, and an order entered on an
             expedited basis. The property is subject to a loan under which the lender asserts
               an entitlement to interest accruing at 24.99%, and 2023 real estate taxes that
              remain unpaid, multiple notices of violation from the City of Miami Beach and
                                       ongoing maintenance expenses.

            Bernice C. Lee, as Receiver (“Receiver”) over the companies listed herein (each a

  “Receivership Company” and collectively, the “Receivership Companies”) 1 in this action, seeks

  the entry of an Order approving the sale of real property described herein, free and clear of all

  liens, claims, interests and encumbrances, and granting related relief. In support, the Receiver

  states:



  1
   The “Receivership Companies” include: Location Ventures, LLC, URBIN, LLC, Patriots United, LLC;
  Location Properties, LLC; Location Development, LLC; Location Capital, LLC; Location Ventures
  Resources, LLC; Location Equity Holdings, LLC; Location GP Sponsor, LLC; 515 Valencia Sponsor, LLC;
  LV Montana Sponsor, LLC; URBIN Founders Group, LLC; URBIN CG Sponsor, LLC; 515 Valencia
  Partners, LLC; LV Montana Phase I, LLC; Stewart Grove 1, LLC; Stewart Grove 2, LLC; Location Zamora
  Parent, LLC; URBIN Coral Gables Partners, LLC; URBIN Coconut Grove Partners, LLC; URBIN Miami
  Beach Partners, LLC; and URBIN Miami Beach II Phase 1, LLC.


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                                         INTRODUCTION

         Urbin Miami Beach Partners, LLC (“Urbin Partners”) is a Receivership Company that

  owns 100% of Urbin Miami Beach Mezzanine, LLC (“Urbin Mezzanine”), which in turn owns

  100% of Urbin Miami Beach Owner, LLC (“Miami Beach Owner”). Miami Beach Owner owns

  two parcels on Washington Avenue in Miami Beach, Florida (the “Miami Beach Property”). The

  Miami Beach Property is encumbered by a lien in favor of the first position lender who filed a

  foreclosure action and sought 24.99% default interest, and various construction and other lien

  claimants. The Receiver has reached an agreement with the first position lender, 1234 Washington

  Acquisitions, LLC (the “Lender”), with respect to the proposed sale of the Miami Beach Property

  described below.

         On September 3, 2024, the Receiver received a contract to purchase the Miami Beach

  Property for $17,500,000 (the “Sale Contract”) from Pakman Miami Beach LLC (the “Buyer”), a

  copy of which is attached as Exhibit 1. Through the Motion, the Receiver seeks the entry of an

  order: (a) approving the sale of the Miami Beach Property to the buyer free and clear of all liens,

  claims, interests and encumbrances through the closing date, on an as-is, where-is basis, without

  representations or warranties from the Receiver, with all such liens, claims, interests and

  encumbrances attaching to the net sale proceeds with the same priority, extent and validity as they

  had prior to the receivership (if any), (b) approving the settlement agreement with the Lender, and

  (c) authorizing the Receiver to pay, at closing, the Lender Payment (defined below), a carveout for

  the benefit of the estate, unpaid 2023 real estate taxes and 2024 prorated real estate taxes, any

  pending, unpaid or accrued charges for utility bills for the City of Miami Beach, and the seller’s

  closing costs specified in the Sale Contract, including, but not limited to, documentary stamps and

  surtax. As described below, the Receiver believes proceeding with the sale described herein is in



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  the best interest of the receivership estate.

                                     FACTUAL BACKGROUND

      I.        The Receivership Order

           1.      On December 27, 2023, the Securities and Exchange Commission (“SEC”) filed a

  Complaint for Injunctive Relief against Rishi Kapoor (“Kapoor”) and the Receivership Companies

  [DE 14-1] alleging that Kapoor used the Receivership Companies to operate a real estate scheme

  in violation of the anti-fraud provisions of the federal securities law raising approximately $93

  million from more than 50 investors from January 2018 through March 2023.

           2.      On January 5, 2024, the SEC filed an Expedited Motion for Appointment of

  Receiver, Asset Freeze, and Other Related Relief Against the Company Defendants and

  Memorandum of Law (the “Receiver Motion”) [DE 16] seeking the appointment of a receiver to

  inter alia administer the Receivership Companies’ assets.

           3.      On January 12, 2024, the Court entered an Order granting the Receiver Motion (the

  “Receivership Order”) [DE 28], which appointed Bernice C. Lee as receiver “for the estate of the

  Receivership Companies, including any of [their] divisions, subsidiaries, affiliates, successors, and

  assigns; and any fictitious business entities or business names created or used by the Receivership

  Companies, their divisions, subsidiaries, affiliates, successors, and assigns.” Receiver. Order ¶ 2.

           4.      The Receivership Order defines “Receivership Property” and “Receivership

  Estate” as including “all property interests . . . of whatever kind, which the Receivership

  Defendants own, possess, have a beneficial interest in, or control directly or indirectly.” See ¶ 7.A.

           5.      The Receivership Order authorizes the Receiver to transfer or otherwise dispose of

  Receivership Property, other than real estate, in the ordinary course of business, on terms and in

  the manner the Receiver deems most beneficial to the Receivership Estate, and with due regard to



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  the realization of the true and proper value of such Receivership Property. See ¶ 31.

           6.      The Receiver is further authorized to sell real property in the Receivership Estate,

  either at public or private sale, on terms and in the manner the Receiver deems most beneficial to

  the Receivership Estate, and with due regard to the realization of the true and proper value of such

  real property, and is authorized to sell, and transfer clear title to, all real property in the

  Receivership Estate, pursuant to such procedures as may be required by the Court and additional

  authority such as 28 U.S.C. sections 2001 and 2004. See ¶ 32-33.

           7.      The Receivership Order further grants the Receiver all powers, authorities, rights

  and privileges possessed by the officers, directors, managers, and general and limited parties of

  the Receivership Companies under applicable state and federal law, and by any governing charters,

  by-laws, articles, and/or agreements, in addition to all powers and authority of a receiver at equity

  and under other applicable law. See ¶ 4.

     II.        The Miami Beach Property

           8.      Urbin Partners is a Receivership Company. The Receiver located the Operating

  Agreement of Urbin Mezzanine dated April 30, 2021, which indicates that Urbin Partners is the

  sole member and 100% owner of Urbin Mezzanine. A copy of the Operating Agreement is attached

  as Exhibit 2. The Receiver located the Operating Agreement of Miami Beach Owner dated April

  30, 2021, which indicates that Urbin Mezzanine is the sole member and 100% owner of Miami

  Beach Owner. A copy of the Operating Agreement is attached as Exhibit 3.

           9.    Miami Beach Owner acquired the Miami Beach Property on May 12, 2021 for

  $20,000,000 consisting of: (a) 1260 Washington Avenue, which now consists of primarily vacant




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  land (folio no. 02-4203-009-0040), 2 and (b) 1234 Washington Avenue with an existing three-story

  commercial building that has been gutted (folio no. 02-4203-009-0050).

      III.         The First Position Lender and Additional Claimants

             10.      To purchase the Miami Beach Property, on May 4, 2021, Miami Beach Owner

  executed a $14,000,000 promissory note, purchase money mortgage, and assignment of leases and

  rents in favor of 1234 Partners, Ltd. (“1234 Partners”). A copy of the Foreclosure Complaint

  (defined below) is attached as Exhibit 4. A copy of the note is attached as Exhibit C to the

  Foreclosure Complaint, and a copy of the mortgage is attached as Exhibit A to the Foreclosure

  Complaint. The mortgage was recorded in Book 32501, Page 299. The assignment of leases and

  rents was recorded in Book 32501, Page 321.

             11.      On May 31, 2022, Miami Beach Owner executed in favor of 2EE, LLC (“2EE”):

  (a) an amended and restated mortgage, a copy of which is attached as Exhibit B to the Foreclosure

  Complaint, and recorded in Book 33222, Page 3022, (b) a gap note in the amount of $1,350,000,

  a copy of which is attached as Exhibit D to the Foreclosure Complaint, (c) a consolidated and

  replacement promissory note, consolidating the prior note balance of $13,500,000 and gap note

  for $1,350,000, for a total of $14,850,000, a copy of which is attached as Exhibit E to the

  Foreclosure Complaint, (d) an assignment of contracts, documents, intangibles and other rights as

  collateral, a copy of which is attached as Exhibit H to the Foreclosure Complaint, and (e) an

  assignment of architectural contract and plans, a copy of which is attached as Exhibit K to the

  Foreclosure Complaint.

             12.      On June 1, 2022, 1234 Partners executed in favor of 2EE an assignment of



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   The Receiver understands that demolition of existing structures at the time of acquisition was
  completed prior to the commencement of the receivership.

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  mortgage, a copy of which is attached in composite Exhibit L to the Foreclosure Complaint. The

  assignment was recorded June 6, 2022, in Book 33222, Page 3020. On July 18, 2023, 2EE assigned

  the aforementioned mortgage, note, and other loan documents to 1234 Washington Acquisition,

  LLC (the “Lender”), an affiliated company. Copies of the assignment documents are attached in

  composite Exhibit L to the Foreclosure Complaint.

         13.     On June 6, 2022, a UCC-1 Financing Statement naming 2EE as the secured party

  was recorded in Book 33222, Page 3051.

         14.     On July 21, 2023, the Lender filed a foreclosure action against Miami Beach

  Owner, Urbin Partners, Urbin Mezzanine, and other defendants in the Circuit Court for Miami

  Dade County, Case No.: 2023-020039-CA-01 (the “Foreclosure Case”). A copy of the complaint

  (“Foreclosure Complaint”) is attached hereto as Exhibit 4. The Lender also recorded a Notice of

  Lis Pendens recorded in Book 33916, Page 4574.

         15.     The Foreclosure Complaint alleges that the loan matured on June 1, 2023 and

  Miami Beach Owner failed to repay the loan upon maturity. Compl. ¶ 24-25. It further states that

  as of July 21, 2023, the Lender was owed $14,850,000 in principal, plus interest of $505,312.50,

  for a total sum of $15,355,312.50. Id. at ¶ 30. On October 5, 2023, the clerk of court entered

  defaults against Miami Beach Owner, Urbin Partners, Urbin Mezzanine, copies of which are

  attached as composite Exhibit 5.

         16.     The Lender has provided payoff information through June 19, 2024 asserting a total

  due of $19,271,006.71 consisting of: (a) $14,850,000 in principal, (b) $3,914,358.29 in default

  interest at 24.99% from June 1, 2023 through June 19, 2024, (c) $151,890.18 in attorney’s fees

  and costs paid by Lender through April 1, 2024, (d) $326,420.78 paid for 2022 real estate taxes,

  and (e) $28,337.46 for insurance, utilities and an appraisal. The Lender’s asserted per diem default



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  interest rate is $10,167.16, and additional attorney’s fees will accrue. Absent a prompt sale,

  additional costs to maintain and preserve the Miami Beach Property will continue to accrue,

  including property taxes, insurance premiums, and electricity and water bills.

         17. As set forth in the Lender’s Declaration attached as Exhibit 6, the Lender represents

  that the Lender and its related parties: (a) are not investors in the Receivership Companies, or their

  subsidiaries or affiliates, except with respect to 515 Valencia SPE LLC and certain token shares

  in Location Ventures, LLC that appeared on a Schedule K-1 for one year and then were eliminated,

  (b) have never been a director, officer, manager, member, investor, employee or agent of the

  Receivership Companies, or their subsidiaries or affiliates, except with respect to being an investor

  with 515 Valencia SPE LLC and certain token shares in Location Ventures, LLC that appeared on

  a Schedule K-1 for one year and then were eliminated, and (c) except as otherwise stated in the

  Lender’s Declaration with respect to prior lending and loan transactions and except as to a lending

  relationship with respect to real property owned by Stewart Grove 1, LLC, Stewart Grove 2, LLC,

  515 Valencia SPE LLC, Urbin Miami Beach Owner LLC and 7233 Los Pinos, LLC, have no direct

  or indirect relationship to, connection with, or interest in, the Receivership Companies, their

  subsidiaries or affiliates, or Rishi Kapoor.

         18.     A list of the above mortgages and assignments, and additional liens, and lis pendens

  recorded by claimants against the Miami Beach Property, who are likely material and service

  subcontractors, follows:

           a.    Mortgage in the original principal sum of $14,000,000, executed by Urbin
                 Miami Beach Owner, LLC, a Florida limited liability company in favor of
                 1234 Partners, Ltd., a Florida limited partnership, recorded in Book 32501,
                 Page 299, as modified by document recorded in Book 33222, Page 3022,
                 and assigned to 1234 Washington Acquisition, LLC, a Florida limited
                 liability company by document recorded in Book 33808, Page 4802,




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         b.   Assignment of Rents and Leases from Urbin Miami Beach Owner, LLC, a
              Florida limited liability company to 1234 Partners, Ltd., a Florida limited
              partnership recorded May 12, 2021, in Book 32501, Page 321,

         c.   UCC-1 Financing Statement naming 2EE LLC as secured party and Urbin
              Miami Beach Owner, LLC as debtor, filed June 06, 2022, recorded in Book
              33222, Page 3051,

         d.   Claim of Lien in favor of South Florida Construction Solution, Inc. for
              $811,704.80 recorded on June 12, 2023 Book 33746, Page 173,

         e.   Claim of Lien in favor of G. Proulx Building Products, LLC for
              $128,956.72 recorded on June 14, 2023 Book 33748, Page 4446,

         f.   Claim of Lien in favor of Touzet Studio, Inc. for $44,677.81 recorded on
              June 21, 2023 Book 33755, Page 4675,

         g.   Claim of Lien in favor of Rene’s Equipment Rental – Master Paving
              Engineering, LLC for $181,738.50 recorded on June 22, 2023 Book 33759,
              Page 1402,

         h.   Claim of Lien in favor of Ferguson Waterworks for $23,857.28 recorded on
              July 12, 2023 Book 33788, Page 3766,

         i.   Claim of Lien in favor of United Rentals (North America), Inc. for
              $34,155.17 recorded on July 31, 2023 Book 33815, Page 4816,

         j.   Claim of Lien in favor of Atlantic Coast Drilling for $20,592.50 recorded
              on August 7, 2023 Book 33826, Page 935,

         k.   Claim of Lien in favor of John Abell Corporation for $423.62 recorded on
              August 24, 2023 Book 33850, Page 4612,

         l.   Claim of Lien in favor of Doka USA, Ltd. for $40,095.71 recorded on
              September 25, 2023 Book 33898, Page 703,

         m.   Claim of Lien in favor of Paragon Painting & Waterproofing, Inc. for
              $24,304.00 recorded on September 25, 2023 Book 33898, Page 2282,

         n.   Claim of Lien in favor of J. Hernandez and Associates, Inc. for $9,300
              recorded on October 2, 2023 Book 33907, Page 530,

         o.   Claim of Lien in favor of Integrated Cooling Solutions LLC for $133,080,
              recorded on October 23, 2023, Book 33937, Page 103,




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         p.    Claim of Lien in favor of Winmar Construction, Inc. for $447,415.50
               recorded on July 7, 2023 Book 33783, Pages 2933,

         q.    Claim of Lien in favor of Winmar Construction, Inc. for $456,070.50
               recorded on August 22, 2023 Book 33845, Pages 4917,

         r.    Claim of Lien in favor of Winmar Construction, Inc. for $3,898,808.59
               recorded on July 7, 2023 Book 33783, Pages 2931,

         s.    Claim of Lien in favor of Winmar Construction, Inc. for $4,249,098.59
               recorded on August 22, 2023 Book 33845, Pages 4915,

         t.    Claim of Lien in favor of Winmar Construction, Inc. for $671,260.93
               recorded on July 11, 2023 Book 33787, Pages 1999,

         u.    Claim of Lien in favor of Adonel Concrete Corp. for $52,414.67 recorded
               on June 13, 2023 Book 33746, Page 4470,

         v.    Claim of Lien in favor of Rock & Dirt Construction Equipment Rental LLC
               for $23,878.50 recorded on June 15, 2023 Book 33750, Page 390,

         w.    Claim of Lien in favor of South Dade Electrical Supply, Inc. for $7,582.17
               recorded on August 4, 2023 Book 33824, Page 1031,

         x.    Claim of Lien in favor of Aya Diversity Electric, LLC for $81,090.09
               recorded on July 7, 2023 Book 33783, Pages 3175-3176,

         y.    Claim of Lien in favor of Aya Diversity Electric, LLC for $15,930.00
               recorded on July 7, 2023 Book 33783, Pages 3177-3178,

         z.    Claim of Lien in favor of City of Miami Beach for $8,302.38 recorded on
               December 8, 2008 Book 26676, Page 3090,

         aa.   Claim of Lien in favor of City of Miami Beach for $8,302.38 recorded on
               December 8, 2008 Book 26676, Page 3091,

         bb.   Notice of Lis Pendens for Case No. 2023-020039-CA-01, styled 1234
               Washington Acquisition, LLC v. Urbin Miami Beach Owner, LLC recorded
               on July 27, 2023 Book 33812, Page 3444,

         cc.   Notice of Lis Pendens Case No. 2023-083125-CC-05, styled Ferguson
               Enterprises, LLC, D/B/A Ferguson Waterworks v. Urbin Miami Beach
               Owner, LLC recorded on August 2, 2023 Book 33820, Page 2024,

         dd.   Notice of Lis Pendens for Case No. 2023-021077-CA-01, styled Rene's
               Equipment Rental-Master Paving Engineering, LLC, a Florida limited

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                  liability company v. Urbin Miami Beach Owner, LLC recorded on August
                  15, 2023 recorded in Book 33838, Page 2085,

            ee.   Notice of Lis Pendens Case No. 2023-020039-CA-01, styled 1234
                  Washington Acquisition, LLC v. Urbin Miami Beach Owner, LLC recorded
                  in Book 33916, Page 4574, and

            ff.   Michael Berkman who filed a UCC Financing Statement as to Debtor BF
                  Burger Group, LLC, recorded on March 2, 2016 in Book 29983, Page 323,
                  that appears to relate to a lease with Peppers, LLC discussed below.

          Excluding the Lender’s claim, the aggregate amount of the filed lien claims against the

   Miami Beach Property exceeds $11,000,000.

          19.     In addition to the foregoing lien claims, the City of Miami Beach (the “City”) has

   provided the Receiver a statement as of July 17, 2024 for: (a) 1260 Washington Avenue with a

   total amount due of $340,384.32, a copy of which is attached as Exhibit 7, and (b) 1234

   Washington Avenue with a total amount due of $30,807.09, a copy of which is attached as Exhibit

   8 (together, the “Statements”). Counsel for the City of Miami Beach has confirmed that the items

   in the Statements and amounts owed to the City fall within the following three categories:

            a.    Utility bills, which are the only items in the Statements that may result in a lien if
                  unpaid, and the City has advised that the utility bills are current and any unpaid
                  amounts need to be paid at closing,

            b.    Charges against the Miami Beach Property that are unsecured and have no lien, and
                  for which the City could submit an unsecured claim for in the event the Receiver
                  conducts a claims process for Miami Beach Owner, which include the following
                  items listed in the Statements but only to the extent the description references
                  “Urbin Miami Beach,” “1234 Partners Ltd” or “Urbin Miami Beach Owner”: (1)
                  unsafe structure charges, (2) city bills, (3) city invoices, and (4) special magistrate
                  charges for code violations which are currently contingent amounts, and

            c.    Charges entered in the City’s database based on the parcel numbers for 1260 and
                  1234 Washington Avenue that are not obligations of Miami Beach Owner, and for
                  which Miami Beach Owner and any future owner of the Miami Beach Property
                  would not be responsible, that relate to prior tenants, such as for the following items
                  in the Statements where the description references Triskell LLC, Canton Buffet,
                  Ice Blue, Ice Blue LLC, Chicken Brasa, Med Shish Kabob, 1946 Washington Inc,
                  Sergio De La Fuentes, DGS Restaurant GRP, Harat’s Pub Miami LLC, M & M

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                  Parking, BGM South Beach LLC, DGS Restaurants, DGS Restaurants Group,
                  MYCI/SageBuilt,3 The Cool Team, Printpro Shop, Peppers Burrito Grill, Peppers
                  Burrito, Direct Marketing, BMG Talent Group, Regatta Real Estate, Acquip Inc.,
                  and The Royal Management: (1) resort tax liens, (2) city bills, (3) city invoices, (4)
                  licensing, (5) permits, and (6) public works.

          20.     The City has confirmed that the current and future owners of the Miami Beach

   Property are not responsible for any amounts owed to the City that relate to prior tenants, such as

   the items specified in paragraph 19(c) above. The Motion seeks to sell the Miami Beach Property

   free and clear of all claims, charges and amounts set forth in the Statements, and if granted and the

   sale closes, the City has confirmed that it understands it cannot seek to collect from the Buyer any

   amounts set forth in the Statements.

          21.     There are also potential unsecured claims of depositors in connection with the

   purchase of units in the Miami Beach development proposed by the Receivership Companies

   which likely exceed $10,000,000.

          22.     Further, the title search for the Miami Beach Property indicates there are three

   recordings relating to lease agreements between a prior owner of the Miami Beach Property and

   tenant: (a) the lease agreement by and between 1234 Partners as lessor, and Harat’s Pub Miami,

   LLC as lessee, a Memorandum of Lease of which was recorded September 10, 2018, in Book

   31132, Page 3593, (b) the lease agreement by and between 1234 Partners as lessor and BF South

   Beach LLC as lessee, a Memorandum of Lease of which was recorded January 23, 2013, in Book

   28454, Page 3836, and (c) the lease agreement by and between 1234 Partners as lessor and Peppers,

   LLC as lessee, a Memorandum of Lease of which was recorded March 22, 2011, in Book 27625,



   3
    The City has advised it will review its records to determine whether the $164,931.01 charge under
   Permits for “MYCI/SageBuilt” relates to a prior tenant or Miami Beach Owner. In the event such
   charge relates to Miami Beach Owner, such charge would be an unsecured claim under paragraph
   19(b) above and would not have a lien.

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   Page 768. These are old leases between 1234 Partners and prior tenants who no longer occupy the

   Miami Beach Property. There are no tenants in the Miami Beach Property. The building on

   1260 Washington Avenue was demolished and the parcel consists of primarily vacant land. The

   existing three-story commercial building on 1234 Washington Avenue has been gutted and

   remains in an unfinished state.

            23.      The Receiver seeks to sell the Miami Beach Property free and clear of any liens,

   claims, interests and encumbrances, including, but not limited to, the foregoing mortgages, liens,

   lis pendens, charges and leases, with all such liens, claims, interests and encumbrances attaching

   to the net sale proceeds with the same priority, extent and validity as they had prior to the

   receivership.

      IV.         The Receiver’s Broker and Marketing Efforts

            24.      On April 15, 2024, the Court entered the Order Granting Receiver’s Motion for

   Authorization to Employ Broker/Auctioneer [DE 124], and approved the Receiver’s employment

   of Lamar P. Fisher, CAI, AARE and Fisher Auction Company (together “Fisher Company”) as

   her broker for the Miami Beach Property.

            25.      As set forth in the Declaration of Lamar P. Fisher attached hereto as Exhibit 9 (the

   “Fisher Declaration”), the Fisher Company engaged in an extensive and commercially reasonable

   marketing process for the Miami Beach Property, listing the Miami Beach Property as a Premium

   Listing on LoopNet and CREXi, sending emails to its contact list of over 17,000 subscribers, and

   sending a worldwide blast email to over 300,000 potential buyers via PropertyCampaign.com.

   Fisher Company had 142 calls or emails from interested parties from 22 different states, territories

   and countries, 555 unique visitors to the Fisher Company website’s dedicated listing page, over

   7,800 unique property views and over 27,000 total views on LoopNet, 264 page views and over



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   16,000 impressions on CREXi, and had 38 parties executed confidentiality agreements to obtain

   access to due diligence information. Id.

          26.     In the course of marketing the Miami Beach Property and communicating with

   potential purchasers over the past several months, Fisher Company encountered certain recurring

   themes in their evaluation of the property, including: (a) the co-living units that were the original

   proposed use for the Miami Beach Property, and a vital component of the previously approved

   plans developed by the Receivership Companies, are no longer an accepted use for the property in

   the City of Miami Beach along Washington Avenue, (b) the potential historic designation of the

   1234 Washington Avenue building limits the potential utilization of space and the design of the

   overall development, (c) the number of approved units for the development was too low for larger

   residential and hotel developers, and (d) most parties found an appraisal prepared for the Miami

   Beach Property as of May 11, 2022 to be of little to no use due to its age, particularly due to

   changes in interest rates and construction costs which are now significantly higher in today’s

   market, and one potential buyer ordered its own appraisal that presented a much lower price point.

          27.     The Receiver, when engaging Fisher Company, retained them as both broker and

   auctioneer, contemplating the possibility of soliciting a “stalking horse” purchase offer followed

   by further bidding through a process to be approved by separate motion. See DE#120, 124. After

   over four months of marketing, the Receiver, in consultation with Fisher Company, and in

   consideration of all the offers she has received, has determined in her business judgment that

   further marketing and further sale procedures are not reasonably expected to yield a better purchase

   offer than that which is the subject of this Motion. The Buyer was only willing to make this offer

   on the condition that it be a sale subject to approval by the Court, and not as a “stalking horse” bid

   subject to higher and better offers after a further auction process.



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              28.      As set forth in the Fisher Declaration, Fisher Company has agreed to a receive a

   payment of $25,000 from the Carveout (defined below), and waives any and all other claims to

   any commission or any other amounts relating to the Receivership Estate and Miami Beach

   Property.

         V.         The Proposed Sale Contract

              29.      On September 3, 2024, the Buyer provided the Receiver the signed Sale Contract

   with a purchase price of $17,500,000, which was the result of extensive arms-length negotiation.

   This offer was the highest all cash offer that was received with no due diligence period. While a

   summary of certain terms are as follows, parties should review the Sale Contract in its entirety:

               a.      Buyer shall pay to Seller4 at Closing the sum of $17,500,000, plus or minus the net
                       amount of any prorations as hereinafter provided. This is an “all cash” transaction
                       not contingent on financing.

               b.      On the day the Receiver files the Sale Motion, a deposit in the amount of
                       $1,750,000.00 will be due and payable by Buyer to the Title Company.

               c.      The Miami Beach Property is being sold as-is, where-is and with all faults, with no
                       guarantees or warranties express or implied.

               d.      If and to the extent that the Statements disclose any amounts that the City requires
                       to be paid prior to Closing or in order for the Closing to occur (“Pre-Closing
                       Obligations”), and the Parties cannot reach an agreement on the allocation or
                       payment of the Pre-Closing Obligations, then either Party may terminate the Sale
                       Contract by providing written notice to the other Party at least fifteen (15) days
                       prior to the Closing Date (“City Statements Termination Deadline”). Buyer shall
                       not have the right to terminate or cancel the Sale Contract if the City provides
                       written notification to Buyer, prior to the City Statements Termination Deadline,
                       stating that the City: (i) will not seek to enforce or take any legal action concerning
                       the items or accounts payable identified in the City Statements against Buyer, and
                       (ii) will not seek to collect on any accounts payable as referenced in the Statements
                       against Buyer. Upon receipt of such written notification from the City, Buyer’s
                       right to terminate or cancel this Agreement as authorized herein, shall be deemed
                       waived, and Buyer shall be obligated to proceed to Closing as set forth in the Sale
                       Contract. Buyer understands that the Receivership Estate does not have funds
                       available to pay any Pre-Closing Obligations or other amounts owed to the City,

   4
       Capitalized terms not defined herein shall have the definitions provided for in the Sale Contract.

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               and any such payment would be paid from the sale proceeds for the Miami Beach
               Property and subject to the agreement of the Lender.

          e.   Prior to Closing, the Title Company shall perform an update search to the effective
               date of the Title Commitment to confirm that there are no new title matters
               adversely affecting the Miami Beach Property (“Title Defect”) that cannot
               otherwise be satisfied by the Sale Order. In the event that a Title Defect exists that
               cannot otherwise be insured over by the entry of the Sale Order then in such event
               Buyer’s sole remedies shall be (1) to terminate the Agreement by providing written
               notice to Seller prior to the Closing Date and receive a return of the Deposit and
               upon delivery of such notice of termination, this Agreement shall terminate and the
               Deposit shall be returned to Buyer, and thereafter neither party hereto shall have
               any further rights, obligations or liabilities hereunder with respect to the Miami
               Beach Property, except for those that expressly survive termination or (2) to accept
               a conveyance of the Miami Beach Property subject to the such Title Defect without
               reduction of the Purchase Price.

          f.   The closing of the transaction contemplated by this Agreement (the “Closing”) shall
               take place on or before sixty-one (61) calendar days after the Sale Order is entered
               provided no appeal or rehearing motion has been filed on or before (60) calendar
               days after the Sale Order is entered (the “Closing Date”), time being of the essence.
               Notwithstanding anything herein to the contrary, if the Sale Order has been
               appealed within sixty (60) days from the entry of the Sale Order, then the Closing
               Date shall be postponed until not more than five (5) Business Days after Sale Order
               has been confirmed on appeal; provided that, if such postponement is longer than
               ninety (90) days after the entry of the Sale Order, then in such event Seller shall
               have the right to terminate this Agreement by giving written termination notice to
               Buyer, and provided the Buyer is not otherwise in default or breach of this
               Agreement, then within five (5) Business Days of Seller providing written
               termination notice, the Deposit shall be returned to Buyer and neither Party shall
               have any further obligations under this Agreement except those that expressly
               survive the termination of this Agreement.

          g.   Seller shall pay past due delinquent real estate taxes owed on the Miami Beach
               Property and documentary stamps and surtax due in connection with the Deed
               transfer. Buyer shall be solely responsible for all other costs related to the sale and
               purchase of the Miami Beach Property (except as otherwise stated herein),
               including but not limited to: all due diligence (inspection) of the Miami Beach
               Property (including title and survey matters); all costs to prevent any liens from
               attaching to the Miami Beach Property if caused by Buyer; cost to update title;
               owner’s policy premium with endorsements thereto; certified lien search fees and
               recording of the Deed. In addition, Buyer shall pay or take the Miami Beach
               Property subject to all matters set forth and disclosed on a lien search of the Miami
               Beach Property, including but not limited to: open or expired permits, any existing
               or future code violations, open utility balances, special assessments (except for real
               estate county taxes to be prorated as set forth in Section 14B below), etc.; provided,

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                  however, the Receiver will list any matters set forth therein containing final and
                  liquidated amounts that have been recorded as liens in the Sale Motion and Sale
                  Order to be otherwise addressed therein. The Title Company’s Escrow fees shall
                  be paid by Buyer. Buyer and Seller agree to cooperate in a 1031 Tax Deferred or
                  Reverse Exchange, if applicable, so long as the costs associated with the 1031
                  Exchange are the responsibility of the requesting party and shall not create a
                  financial responsibility on the non-requesting party. Each Party shall pay their
                  respective attorneys’ fees and costs.

            h.    The real estate taxes for the year of Closing will be prorated through the day before
                  Closing. If the amount of taxes for the current year cannot be ascertained, rates for
                  the previous year will be used with due allowance being made for improvements
                  and exemptions. There shall be no reproration of taxes following the Closing. This
                  paragraph shall survive (continue to be effective after) closing.

          30.     The Receiver submits it is in the best interest of the Receivership Estate to

   consummate the sale of the Miami Beach Property under the Sale Contract and settlement

   agreement with the Lender described below. The sale will generate sufficient funds to pay the

   Lender Payment (defined below), unpaid 2023 real estate taxes, 2024 prorated real estate taxes,

   utility bills for the City of Miami Beach, the Carveout described below and the seller’s closing

   costs specified in the Sale Contract, including, but not limited to, documentary stamps and surtax,

   and the Lender will not file a claim in or seek a distribution from the receivership estate.

          31.     The sale, after payment of the foregoing obligations, will not yield sufficient net

   proceeds to make any additional distributions to junior lien creditors or other parties with claims

   against the Miami Beach Property or its owners. The proposed sale does, nonetheless, provide a

   benefit to the Receivership Estate in that it (a) resolves and eliminates any further liability to the

   Lender, including any deficiency claim that may be asserted against the Receivership Entities, (b)

   enables payment of the real estate tax obligations associated with the Miami Beach Property and

   prevents the accrual of additional tax obligations, and (c) terminates any responsibility of the

   Receivership Estate in connection with the continued maintenance and preservation of the Miami

   Beach Property, including the expenses associated therewith.

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          32.     The only other realistic alternatives for disposition of the Miami Beach Property

   are (a) an open auction, which will entail further delay, further expense in maintaining the property,

   and further interest accrual, with no certainty that the result will meet or exceed the current

   purchase offer, or (b) abandonment of the property to the Lender, which will leave the

   Receivership Estate exposed to potential deficiency and other claims that are being resolved

   through this proposed transaction. Accordingly, the Receiver in her business judgment has

   determined that proceeding with the sale is in the best interests of the Receivership Estate.

                  THE PROPOSED SETTLEMENT AGREEMENT WITH THE
                      LENDER WITH RESPECT TO THE PROPERTY

          33.     In consideration of the foregoing, and other good and valuable consideration, the

   receipt and sufficiency of which are hereby acknowledged, and without admitting any wrongdoing

   or liability, if the Court approves the Sale Contract and the Buyer closes, the Receiver and Lender

   agree as follows:

      a. The Lender has agreed to the proposed sale under the Sale Contract, and the payment at

          closing of the Carveout (defined below), 2023 real estate taxes (estimated to be $330,000),

          prorated 2024 real estate taxes (estimated to be $240,000 if the sale closes by October 31,

          2024), any pending, unpaid or accrued charges for utility bills for the City of Miami Beach

          (estimated to be $15,000 at the time of closing), and all seller’s closing costs under the Sale

          Contract, including, but not limited to, documentary stamp tax and surtax (estimated to be

          $125,000), and to receive the remaining net sale proceeds (the “Lender Payment”), which

          are estimated to be $16,740,000 if the sale closes by October 31, 2024 and less if the sale

          closes after October 31, 2024, in full satisfaction of all amounts owed under all loan

          documents relating to the Miami Beach Property to be paid at closing of the sale of the

          Miami Beach Property, and the Lender will not file a claim in, or seek a distribution from

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        the receivership estate, with respect to any other amounts owed relating to the Miami Beach

        Property, and agrees to waive any such claim. The Lender will dismiss its foreclosure

        action with prejudice and file a notice of voluntary dismissal within two (2) business days

        upon receiving the Lender Payment. The Lender may, in its sole discretion, agree to further

        reduce the Lender Payment, such as in the event the closing date is delayed due to an appeal

        of the Sale Order, or additional real estate taxes or lien payments need to be made at

        closing.

     b. The Lender understands that real estate taxes for the Miami Beach Property will be paid at

        closing from the sale proceeds, including: (1) at least $330,000 for 2023 real estate taxes,

        with interest accruing at 5.75% for folio no. 02-4203-009-0050, and 7.75% for folio no.

        02-4203-009-0040, and (2) 2024 real estate taxes subject to the prorations under the Sale

        Contract.

     c. The Lender will carve out from its first position lien and security interest on the Miami

        Beach Property: (1) $25,000 for the payment of Fisher Company in full satisfaction of all

        services provided for in connection to Miami Beach Property, and (2) $25,000 for the

        benefit of the receivership estate for the Receiver and Receiver’s attorneys’ expenses (the

        “Carveout”) that will be paid at closing. The Carveout funds will be free and clear of any

        liens, claims, interests and encumbrances, and constitute an unencumbered asset of the

        receivership estate, and used to pay $25,000 to Fisher Company at closing, and $25,000 to

        pay the Receiver and her attorneys for their services, including with respect to the

        administration of the Miami Beach Property. Payment for the Receiver and her attorneys

        are subject to the entry of the Court’s order approving the Receiver’s fee applications.

     d. Los Pinos Acquisition, LLC, an affiliate of the Lender, will carve out from its first position



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          lien and security interest on 7233 Los Pinos Blvd, Coral Gables FL, 33134 (the “Los Pinos

          Property”) $50,000 for the benefit of the receivership estate for the Receiver and Receiver’s

          attorneys’ expenses that will be paid at closing of the sale or other disposition of Los Pinos

          Property. Payment for the Receiver and her attorneys are subject to the entry of the Court’s

          order approving the Receiver’s fee applications.

      e. The Lender has provided a list of all known lienholders, who are listed in the below

          certificate of service and will receive notice of the Motion.

      f. The Lender warrants and represents that: (1) all amounts set forth in its payoff statement

          asserting that at least $19,271,006.71 is due to Lender are accurate, and (2) all statements

          in the Lender’s Declaration are accurate.

                                     MEMORANDUM OF LAW

      I. The Court Should Approve the Proposed Sale Free and Clear.

          “The district court has broad powers and wide discretion to determine relief in an equity

   receivership.” S.E.C. v. Elliott, 953 F.2d 1560, 1566 (11th Cir. 1992) (citations omitted). “This

   discretion derives from the inherent powers of an equity court to fashion relief.” Id. These powers

   include the authority to approve the sale of property of the Receivership Companies. Clark on

   Receivers § 482 (3d ed. 1992) (citing First National Bank v. Shedd, 121 U.S. 74, 87, 7 S.Ct. 807,

   814, 30 L.Ed. 877 (1887) (A court of equity having custody and control of property has power to

   order a sale of the property in its discretion). “[A]ny action by a trial court in supervising an

   equity receivership is committed to his sound discretion and will not be disturbed unless there is a

   clear showing of abuse.” S.E.C. v. Pension Fund of Am. L.C., 377 F. App’x 957, 961 (11th Cir.

   2010) (quotations omitted).

          “A court of equity under proper circumstances has power to order a receiver to sell property



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   free and clear of all incumbrances, and to deny the mortgagee the right to foreclose his mortgage.”

   Miners’ Bank of Wilkes-Barre v. Acker, 66 F.2d 850, 853 (3d Cir. 1933); see United States v.

   Brewer, 2009 WL 1748504, at *5 (M.D. Fla. June 19, 2009) (approving private sale and

   concluding buyer “shall hold good and clear title to the Property as against the world, free and

   clear of all liens, encumbrances, claims and interests of any kind”); Sec. & Exch. Comm’n v.

   Harbor City Capital Corp., No. 6:21-cv-694-CEM-DCI, 2023 WL 1105282 (M.D. Fla. Jan. 30,

   2023) (“To be sure, ‘it has long been recognized that under appropriate circumstances, a federal

   court presiding over a receivership may authorize the assets of the receivership to be sold free and

   clear of liens and related claims.’”); Sec. & Exch. Comm’n v. Capital Cove Bancorp LLC, No.

   SACV 15-980JLS, 2015 WL 9701154, *4 (C.D. Cal. Oct. 13, 2015); Pennant Mgmt., Inc. v. First

   Farmers Fin., LLC, No. 14–CV–7581, 2015 WL 4511337, *4 (N.D.Ill. July 24, 2015) (quoting

   Regions Bank v. Egyptian Concrete Co., No. 09–cv–1260, 2009 WL 4431133, at *7 (E.D. Mo.

   Dec. 1, 2009)); see also Mellen v. Moline Malleable Iron Works, 131 U.S. 352, 357 (1889) (“[T]he

   removal of alleged liens or incumbrances [sic] upon property, the closing up of affairs of insolvent

   corporations, and the administration and distribution of trust funds are subjects over which courts

   of equity have general jurisdiction.”).

          One of the primary goals of a receivership is to provide a conduit through which assets can

   be administered for the benefit of the receivership estate and harmed investors, and reduce claims

   against the receivership estate. Even where the sale of an asset will not generate sufficient funds

   to satisfy all existing lien claims, the sale still can produce a benefit by reducing the claims

   assertable against the Receivership Companies’ assets and estate. Capital Cove, 2015 WL 9701154

   at *8 (where receiver presented evidence of the large number of unsecured and junior creditors

   who were defrauded, and the receiver’s expected inability to pay the full amount of each claim



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   from the pooled assets of the receivership, it was in best interests of the receivership estate to sell

   properties at highest possible market price, even if below the aggregate value of existing liens,

   rather than abandoning the properties). Here, given the amount of the Lender’s first lien debt, and

   the other liens and claims asserted against the Miami Beach Property, and the total claims of

   creditors and investors asserted against all of the Receivership Companies and their assets, it is not

   expected that the Receiver will be able to pay the full amount of all such claims from the pooled

   assets of the receivership. Accordingly, it is in the best interests of the Receivership Estate to

   consummate this transaction in order to reduce the claims asserted against the Receivership Estate.

           Allowing the Receiver to enter into the Sale Contract and sell the Miami Beach Property

   free and clear will further the goals of the receivership. The Receiver proposes that all liens, claims,

   interests and encumbrances asserted through the closing date against the Miami Beach Property

   will attach to any remaining sale proceeds after payment of the Lender and other amounts set forth

   above (if any), with the same priority, extent and validity as they had prior to the receivership. The

   Receiver wishes to make clear, however, that no such remaining sale proceeds are anticipated, and

   accordingly there will be no amounts distributable on account of such junior liens (just as would

   be the case if the Miami Beach Property were sold at a foreclosure sale for less than the amount of

   the senior debt).

           The Receiver has not authorized any work to be performed on the Miami Beach Property

   since her appointment on January 12, 2024 that has not been paid, and does not anticipate any

   claimant will assert a valid lien for work performed after January 12, 2024. The Receivership

   Order enjoins creditors from enforcing or creating liens against property owned by the

   Receivership Companies. See Receiver. Order ¶ 23. Any post-receivership recording of a lien will

   violate this provision, and be objected to by the Receiver.



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          The Receiver is not aware of any party asserting a lien superior in priority to the Lender’s

   lien against the Miami Beach Property. To the extent any party in interest purports to assert a lien

   against the Miami Beach Property superior in priority to the Lender’s lien, the Receiver requests,

   and requests that the Court’s Order so provide that such position be asserted by way of objection

   to this Motion. To the best of the Receiver’s knowledge, all interested parties have received notice

   of the Motion.

          As described above, the sale of the Miami Beach Property was marketed extensively and

   in a commercially reasonable manner, and the purchase price is reasonable given the circumstances

   and represents the highest possible market price the Receiver believes is attainable in the

   circumstances. The Sale Contract for $17.5 million is the highest all cash offer received with no

   due diligence period, and was the result of an arms-length negotiation. The expeditious sale of the

   Miami Beach Property will avoid additional real estate taxes and maintenance expenses, maximize

   the value of the Miami Beach Property, and provide sufficient funds to provide for payment of the

   2023 and prorated 2024 real estate taxes, Lender Payment and Carveout. The Lender has agreed

   to not file a claim in, or seek a distribution from the receivership estate, with respect to its

   deficiency claim or any other amounts owed relating to the Miami Beach Property.

          The Receiver has been excused from compliance with 28 U.S.C. § 2001(b), which provides

   procedures for the sale of realty under any order or decree of any court of the United States. On

   January 24, 2024, the Court entered an Order approving the parties’ stipulation and excusing the

   Receiver from compliance with 28 U.S.C. section 2001 in connection with the sale of real property

   in this case. The SEC, Receiver and Kapoor entered into the Stipulation Waiving Requirements of

   28 U.S.C. § 2001(a) and (b) in Connection with Real Property Sale Motions on January 23, 2024

   [DE 48]. See Huntington Nat'l Bank v. Big Sky Dev. Flint, LLC, No. 10-10346, 2010 WL 3702361,



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   at *7 (E.D. Mich. Sept. 16, 2010) (noting that the requirements of 28 U.S.C. § 2001 were waived

   as part of the receivership order to which the parties stipulated); see also Sec. & Exch. Comm'n v.

   EB5 Asset Manager, LLC, No. 15-62323-CIV, 2016 WL 7508252, at *2 (S.D. Fla. Mar. 25, 2016)

   (stating that “[w]hile the Court may not waive the mandatory requirements of § 2001(b), the parties

   may” and citing Huntington Nat'l Bank v. Big Sky for support).

      II.      The Court Should Approve the Settlement with the Lender Relating to the
               Proposed Sale of the Property.

            “The district court has broad powers and wide discretion to determine relief in an equity

   receivership.” S.E.C. v. Elliott, 953 F.2d 1560, 1566 (11th Cir. 1992) (citations omitted). “This

   discretion derives from the inherent powers of an equity court to fashion relief.” Id. “A district

   court reviews settlements proposed by receivers for fairness, reasonableness, and adequacy.” Sec.

   & Exch. Comm'n v. 1 Glob. Cap. LLC, No. 18-CV-61991, 2018 WL 8050527, at *2 (S.D. Fla.

   Dec. 27, 2018); see Sterling v. Stewart, 158 F.3d 1199, 1201 (11th Cir. 1998) (approving

   settlement because managing receiver acted in good faith and conducted adequate investigation

   and settlement was fair); Sec. & Exch. Comm'n v. Quiros, No. 16-CV-21301, 2016 WL 9254719,

   at *2 (S.D. Fla. Oct. 18, 2016) (approving settlement as fair, adequate and reasonable, and well

   within the range of reasonableness). “Determining fairness is left to the sound discretion of the

   district court.” Sec. & Exch. Comm'n v. 1 Glob. Cap. LLC, 2018 WL 8050527, at *2 (citing

   Sterling, 1158 F. 3d at 1202).

            The proposed settlement is well within the range of reasonableness. The Lender’s payoff

   information states that the Lender is owed $19,271,006.71 as of June 19, 2024, plus a per diem

   default rate of $10,167.16. Even assuming that only non-default interest applied through June 19,

   2024, the Lender would be owed approximately $16,766,000, and would have an unsecured

   deficiency claim of more than $2,500,000. Under the settlement, the Lender will receive a reduced

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   payment of approximately $16,740,000 or less, and the Lender will not file a claim in, or seek a

   distribution from the receivership estate, with respect to amounts owed relating to the Miami Beach

   Property. The Lender has also agreed to the Carveout from its collateral in the amount of $50,000

   to pay for the Receiver and her professional’s fees, including her counsel and Fisher Company’s

   services, relating to the Miami Beach Property. An affiliated company has agreed to pay the Lender

   an additional $50,000 as a carveout from its first position lien on Los Pinos at the closing of the

   sale or other disposition of property. The carveout from the Los Pinos first position lien does not

   operate to the detriment of any party: it facilitates the resolution of the Miami Beach mortgage

   debt, which relieves the Receivership Estate from a deficiency claim by the Lender; it provides

   additional funds to compensate the Receivership Estate for its expenses in connection with the

   Miami Beach transaction; and as a carve-out from the Los Pinos lien, it does not increase the debt

   on the Los Pinos property.

          The Receiver believes the proposed settlement constitutes a fair resolution with respect to

   the administration of the Miami Beach Property and potential liability given applicable claims,

   defenses, and risks. The Sale Contract for $17.5 million is the highest and best all cash offer

   received by the Receiver after extensive marketing by the Fisher Company. The proposed

   settlement will provide for a source of payment for the professional fees and expenses incurred by

   the estate to administer the Miami Beach Property. Bankruptcy courts routinely approve

   transactions and settlements that provide for a carveout from a lender’s collateral to pay for

   professional fees and to provide a distribution to lower priority claims. See, e.g., In re Camtech

   Precision Mfg., Inc., 2015 WL 14025728, at *8 (Bankr. S.D. Fla. Jan. 23, 2015) (approving a

   transaction that provided a carveout of lender’s collateral to pay for professional fees and lower

   priority claims); see also In re The Carlisle Apartments, L.P., 2010 WL 11834073, at *5 (Bankr.



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   S.D.N.Y. Dec. 17, 2010) (approving settlement with lender that included carveout from collateral

   to pay for court approved professional fees).

          WHEREFORE, the Receiver respectfully requests the entry of an order substantially in

   the same form as the proposed order attached hereto as Exhibit 10: (a) authorizing the Receiver

   to enter into the Sale Contract, and execute the receiver’s quitclaim deed, receiver’s bill of sale,

   title affidavit and closing statement to consummate the sale of the Miami Beach Property in

   accordance with the terms of the Sale Contract, (b) approving the proposed sale to the Buyer, free

   and clear of any liens, claims or encumbrances that may be asserted on the Miami Beach Property

   through the closing date, on an as-is, where-is basis, without representations or warranties from

   the Receiver, (c) authorizing the Receiver to pay, at closing, the Lender Payment, the Carveout

   amount, unpaid 2023 real estate taxes, 2024 prorated real estate taxes, any pending, unpaid or

   accrued charges for utility bills for the City of Miami Beach, and the seller’s closing costs specified

   in the Sale Contract, including, but not limited to, documentary stamps and surtax, (d) approving

   the settlement agreement with the Lender with respect to the proposed sale of the Miami Beach

   Property, and (e) granting such other and further relief as the Court deems just and proper.

                     CERTIFICATION OF CONFERENCE WITH COUNSEL

          Counsel for the SEC has informed undersigned counsel that it has no objection to the relief

   requested herein. Counsel for defendant Rishi Kapoor has informed undersigned counsel that Rishi

   Kapoor takes no position on the relief requested herein. Counsel for a group of unit purchasers

   who is included in the service list below but who has not made an appearance in this case, has

   advised undersigned counsel that his clients object to any sale of the Miami Beach Property that

   will not allow them to recoup all (if not a great sum) of their deposit funds; however, it is unclear

   if counsel will appear in this case.



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                                                  Respectfully submitted,

                                                  KOZYAK TROPIN & THROCKMORTON, LLP
                                                  2525 Ponce de Leon Boulevard, 9th Floor
                                                  Coral Gables, Florida 33134
                                                  Tel: (305) 372-1800
                                                  Fax: (305) 372-3508
                                                  Email: dlr@kttlaw.com

                                                  By: /s/ David L. Rosendorf
                                                     David L. Rosendorf
                                                     Florida Bar No. 996823

                                                  Counsel for Bernice C. Lee, Receiver


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been served this

   10th day of September, 2024 via CM/ECF upon all counsel of record and via email and/or U.S.

   mail on the following lienholders, tenants and interested parties listed in the Service List.

                                                  By: /s/ David L. Rosendorf
                                                     David L. Rosendorf




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                                          Service List

   Via U.S. mail*
   * Copies of the motion, sale contract (Exhibit 1) and proposed order (Exhibit 10) were
   served on the interested parties listed below by US Mail. Copies of all other exhibits are
   available upon request by contacting the Receiver’s office, and will be available on the
   Receiver’s website: https://kttlaw.com/lv/ by clicking the link underneath “Court
   Documents” at the bottom left-hand corner of the webpage.

   Miami-Dade County Tax Collector                 The Honorable Markenzy Lapointe
   200 N.W. 2nd Avenue                             United States Attorney
   Miami, FL 33128                                 99 NE 4th Street
                                                   Miami, FL 33132
   Miami-Dade County Property Appraiser
   Stephen P. Clark Center                         The Honorable Merrick B. Garland
   111 N.W. 1st Street, Suite 710                  United States Attorney General
   Miami, FL 33128-1984                            Department of Justice, Room 4400
                                                   950 Pennsylvania Avenue N.W.
   Internal Revenue Service                        Washington, DC 20530-0001
   Centralized Insolvency Operations
   PO Box 7346                                     Mayor Steven Meiner
   Philadelphia, PA 19101-7346                     City of Miami Beach
                                                   1700 Convention Center Dr.
   Florida Department of Revenue                   Miami Beach, FL 33139
   PO Box 6668
   Tallahassee, FL 32314-6668                      City of Miami Beach
                                                   c/o Steven Rothstein
   Jim Zingale                                     Office of the City Attorney
   Executive Director                              1700 Convention Center Drive, Fourth Floor
   Florida Dept. of Revenue                        Miami Beach, FL 33139
   5050 West Tennessee Street                      stevenrothstein@miamibeachfl.gov
   Tallahassee, FL 32399
                                                   Cooper Road LLC
   Florida Department of Revenue                   101 20th Street, Apt 2501
   Miami Service Center                            Miami Beach, FL 33139
   3750 NW 87th Ave, Suite 300                     jayrbloom@gmail.com
   Doral, FL 33178-2430                            jordanbloom1@gmail.com

   The Honorable Ashley Moody                      Allen Furst
   Office of the Attorney General                  3540 Royal Palm Avenue
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